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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

  ROGER DEAN GILLISPIE,                           )   CASE NO.: 3:13-CV-416
                                                  )
          Plaintiff,                              )   JUDGE: THOMAS M. ROSE
                                                  )
  vs.                                             )   DEFENDANT MATTHEW SCOTT
                                                  )   MOORE'S BRIEF IN OPPOSITION TO
  THE CITY OF MIAMI TOWNSHIP, et                  )   PLAINTIFF'S MOTION TO STRIKE
  al.,                                            )   NEW SUMMARY JUDGMENT
                                                  )   MATERIALS FILED FOR THE FIRST
          Defendants                              )   TIME IN REPLY

        Plaintiff's Motion to Strike New Summary Judgment Materials Filed for the First Time in

 Reply is not supported by law and must be denied. Instead, the 2019 Declaration of Pamela Moore

 (the only evidence submitted by Det. Matthew Scott Moore that is objected to by Plaintiff) was

 properly submitted to rebut the arguments asserted by Plaintiff. Such rebuttal evidence is

 permitted under federal law. There is no grounds upon which the Declaration of Pamela Moore

 should be stricken and Plaintiff's Motion must be denied.

 I.     STATEMENT OF THE ISSUE AND RELEVANT FACTS

        Det. Moore timely submitted his Motion for Summary Judgment on September 16, 2019.

 Doc. 257. Contrary to Plaintiff's assertions, Det. Moore's Motion for Summary Judgment did not

 construe the material facts against Plaintiff. Instead, the summary judgment motion appropriately

 informed the district court of the basis of his motion, and identified those portions of the pleadings,

 depositions, answers to interrogatories, and admission on file, together with the affidavits, if any,

 which Det. Moore believes demonstrates the absence of a genuine issue of material fact. See

 Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986).

        Plaintiff submitted his Omnibus Response in Opposition to Defendants' Miami Township

 and Moore's Motion for Summary Judgment ("Plaintiff's Opposition Brief") on October 28, 2019.
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 Plaintiff's Brief in Opposition introduced and heavily relied upon an affidavit from 2011 from Det.

 Moore's ex-wife Pamela Moore (the "2011 Affidavit") in an effort to create a genuine issue of

 material fact. Doc. 278, PageID 10467, 10469, 10470, 10472, 10476, 10477, 10488.

        Det. Moore timely submitted his Reply in Support of his Motion for Summary Judgment

 ("Reply Brief") on November 12, 2019. Doc. 281. The Reply Brief included as an exhibit a 2019

 Declaration from Pamela Moore (the "2019 Declaration"). The 2019 Declaration was properly

 submitted as rebuttal evidence. The 2019 Declaration corrected errors and clarified the statements

 contained within the 2011 Affidavit.

        The 2019 Declaration was properly submitted as part of the summary judgment briefing.

 It should not be stricken and, instead, should be considered as part of the evidence that establishes

 that there are no genuine issues of material fact and that Det. Moore is entitled to summary

 judgment on all claims asserted against him.

 II.    LAW AND ARGUMENT

        A.      The 2019 Declaration is rebuttal evidence that was properly submitted with
                the Reply Brief.

        The 2019 Declaration was submitted solely to rebut the evidence and arguments submitted

 by Plaintiff in his Opposition Brief. Sixth Circuit has long held that "reply affidavits that respond

 only to the opposing party's brief are properly filed with the reply brief." Peters v. Lincoln Elec.

 Co., 285 F.3d 456, 476 (6th Cir.2002); see also Smith v. Burns Clinic Medical Center, P.C., 779

 F.2d 1173, FN6 (6th Cir.1985) (approving a defendant's use of affidavits to respond to issues raised

 in the plaintiffs' memorandum opposing summary judgment).

        As one district court succinctly observed "It seems absurd to say that reply briefs are

 allowed but that a party is proscribed from backing up its arguments in reply with the necessary

 evidentiary material… where the reply affidavit merely responds to matters placed in issue by the

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 opposition brief and does not spring upon the opposing party new reasons for the entry of summary

 judgment, reply papers- both briefs and affidavits- may properly address those issues." see also

 Baugh v. City of Milwaukee, 823 F. Supp. 1452 (E.D.Wisc.1993), aff'd, 41 F.3d 1510 (7th

 Cir.1994).

        The case law cited to by Plaintiff all relate to the submission of new legal arguments that

 are asserted for the first time in a reply brief. For example, in Sanborn v. Parker, 629 F.3d 554,

 579 (6th Cir.2010) the appellant argued in his opening brief that a witness's testimony was

 inadmissible and that, if the evidence were excluded, the evidence was insufficient to convict the

 appellant. The appellant in Sanborn argued for the first time in his reply brief that the evidence

 would nonetheless be insufficient even if the witness's testimony was admitted. The Sixth Circuit

 held that this argument, raised for the first time in the reply brief, had been waived. Id.

        Similarly, in Ross v. Choice Hotels Intern., Inc., 882 F.Supp.2d 951, 958 (S.D. Ohio 2012)

 the district court found that the defendant could not assert that the plaintiff's claims were barred

 by the economic loss rule when that argument was raised for the first time in the reply brief. Id.

        Unlike the cases cited to by Plaintiff, the affidavit submitted by Det. Moore does not

 provide any new arguments in support of entering summary judgment in his favor. Instead, the

 Reply Brief and 2019 Declaration are appropriately limited to responding to those arguments first

 raised by Plaintiff in Plaintiff's Opposition Brief. The Sixth Circuit's clear and unambiguous

 precedent permits the submission of such a declaration. Plaintiff's Motion to Strike must be denied.

        B.      The 2019 Declaration further supports that there are no genuine issues of
                material fact.

        The 2019 Declaration should be properly considered in ruling on the pending summary

 judgment motion. Courts routinely permit the consideration of declaration and affidavit testimony

 that contradicts prior testimony so long as the affidavit is not intended to create a sham issue of

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 fact- that is if the witness has some legitimate justification for the contradiction. Aerel, S.R.L. v.

 PCC Airfoils, L.L.C., 448 F.3d 899, 908-909 (6th Cir. 2006). It is permissible for an affiant to

 correct sworn testimony where "the witness was confused at the earlier deposition or for some

 other reason misspoke." Davis v. Brouse McDowell, N.D. Ohio No. 5:08-CV-1356, 2009 WL

 10703128 (May 22, 2009), citing Martin v. Merrell Dow Pharm., Inc., 851 F.2d 703, 705 (3d

 Cir.1988). The 2019 Declaration provides a legitimate justification for the contradiction. See

 2019 Declaration, ¶ 2.

        As described in the pending Motion for Summary Judgment, the undisputed evidence in

 this case establishes that there are no genuine issues of material fact and that summary judgment

 should be entered in favor of Det. Moore.

        C.      The 2019 Declaration should not be stricken as a discovery sanction.

        Finally, Plaintiff asserts that the 2019 Declaration should be stricken as a discovery

 sanction. This is nothing but a red herring and should be rejected. There can be no dispute that

 Ms. Moore was properly disclosed as a witness and that Plaintiff was aware that Ms. Moore was

 likely to have discoverable information. Indeed, Plaintiff identified Ms. Moore as such a person

 in his April 19, 2019 Supplemental Witness Disclosure, See Ex. A, Plaintiff's Supplemental Initial

 Disclosure Pursuant to Rule 26(a)(1), and Plaintiff utilized the 2011 Affidavit in his Brief in

 Opposition. Quite clearly, Plaintiff was aware that Ms. Moore had discoverable information and

 had every opportunity to depose Ms. Moore if he chose to do so. There is no discovery violation

 and the affidavit of Ms. Moore should not be stricken as a discovery sanction.

 III.   CONCLUSION

        For these reasons, Plaintiff's Motion to Strike New Summary Judgment Materials Filed for

 the First Time in Reply.



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                                                   Respectfully submitted,

                                                   MAZANEC, RASKIN & RYDER CO., L.P.A.

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                                                   Counsel for Defendant Matthew Scott Moore




                                          CERTIFICATE OF SERVICE

          I hereby certify that on December 3, 2019, a copy of the foregoing Defendant Matthew

 Scott Moore's Brief in Opposition to Plaintiff's Motion to Strike New Summary Judgment

 Materials Filed for the First Time in Reply was filed electronically. Notice of this filing will be

 sent to all registered parties by operation of the Court’s electronic filing system. Parties may access

 this filing through the Court’s system.

                                                   s/Cara M. Wright
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